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Timeline Regarding Expert Production

                                                                             August 23, 2007                                                                               September 20, 2007
                                                                                 Deposition of                                                                               Expert Deposition
                                                                                  Chad Morris                                                                                    Deadline
              July 30, 2007             August 13, 2007 -
              Plaintiffs Expert                                                August 29, 2007
                                        August 14, 2007                        Defendants' Expert
                Report Due                Deposition of                           Reports Due
                                         John Kilpatrick




                                                                              11 Days
                                                              29 Days

                                        Defendants time to review expert reports                                                                               Plaintiffs time to review expert reports

              July                                          August                                                                                     September                                    October



                                                                                                                                                         September 10, 2007                            October 9, 2007
                                                August 22, 2007-                                                                                         Plaintiffs Memorandum                      Defendants' Opposition to
                   August 3, 2007               August 23, 2007                                                                                        regarding Motions for Class                      Motion for Class
                   Deadline for Class             Deposition of                                                                                             Certification Due                           Certification Due
                   Certification Fact              Paul Kemp
                     Depositions
                                                                         August 27, 2007
                                                                         Defendants' Final
                                                                          Exhibit List Due




                                                                                                                                                                                                                     EXHIBIT "A"
